                                                                                     06/17/2019


                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF VIRGINIA
                                  Charlottesville Division

   BRENNAN M. GILMORE,

                              Plaintiff,

                       v.

   ALEXANDER (“ALEX”) E. JONES;
   INFOWARS, LLC, a Texas limited liability
   company; FREE SPEECH SYSTEMS,                    Case No. 3:18-cv-00017-NKM-JCH
   LLC, a Texas limited liability company;
   LEE STRANAHAN; LEE ANN MCADOO
   a/k/a LEE ANN FLEISSNER; SCOTT
   CREIGHTON; JAMES (“JIM”) HOFT;
   DERRICK     WILBURN;          MICHELE
   HICKFORD; and WORDS-N-IDEAS,
   LLC,

                              Defendants.

                                             ORDER

         Before the Court is the Motion of Alison S. Deich to Withdraw as counsel for the

  Scholars, dated June 7, 2019.

         Accordingly, and for good cause shown, it is hereby ORDERED that attorney Alison S.

  Deich be granted leave to withdraw, and that the Scholars be terminated from the docket.




           June 17
   Dated: _____________________, 2019




                                                   __________________________________
                                                   ____
                                                     _____
                                                        _ _____________________  ___
                                                                                  __________
                                                   United
                                                   Un
                                                    nit                      Judge
                                                      ited States Magistrate Ju
                                                                              udg
                                                                                dge




Case 3:18-cv-00017-NKM-JCH Document 151 Filed 06/17/19 Page 1 of 1 Pageid#: 2377
